                          Case 4:19-cv-07123-PJH Document 154 Filed 09/25/20 Page 1 of 2



              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     BETHANY C. LOBO (248109) (blobo@cooley.com)
              3      KYLE C. WONG (224021) (kwong@cooley.com)
                     JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
              4      101 California Street, 5th floor
                     San Francisco, CA 94111-5800
              5      Telephone: (415) 693-2000
                     Facsimile: (415) 693-2222
              6
                     DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
              7      (dgrooms@cooley.com)
                     ELIZABETH B. PRELOGAR (262026)
              8      (eprelogar@cooley.com)
                     1299 Pennsylvania Avenue, NW, Suite 700
              9      Washington, DC 20004-2400
                     Telephone: (202) 842-7800
            10       Facsimile: (202) 842-7899

            11       Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            12
            13                                      UNITED STATES DISTRICT COURT

            14                                  NORTHERN DISTRICT OF CALIFORNIA

            15
            16       WHATSAPP INC., a Delaware corporation,          Case No. 4:19-cv-07123-PJH
                     and FACEBOOK, INC., a Delaware
            17       corporation,                                    NOTICE OF WITHDRAWAL OF COUNSEL
                                                                     OF JOSEPH D. MORNIN FOR PLAINTIFFS
            18                                                       WHATSAPP INC. AND FACEBOOK, INC.
                                      Plaintiffs,
            19
                            v.
            20
                     NSO GROUP TECHNOLOGIES LIMITED
            21       and Q CYBER TECHNOLOGIES LIMITED,

            22                        Defendants.

            23
            24

            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW
                                                                                 NOTICE OF WITHDRAWAL OF COUNSEL
 SAN FRA NCI S CO
                                                                1.                            OF JOSEPH D. MORNIN
                                                                                        CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 154 Filed 09/25/20 Page 2 of 2



              1                  TO THE COURT, ALL PARTIES, AND ALL COUNSEL OF RECORD:

              2                  PLEASE TAKE NOTICE that Plaintiffs WhatsApp Inc. and Facebook, Inc. file this Notice of

              3      Withdrawal of Counsel to notify the Court that Joseph D. Mornin has withdrawn as attorney of record

              4      for Plaintiffs. Davis Polk & Wardwell LLP and O’Melveny & Myers will continue to represent

              5      Plaintiffs.

              6      Dated: September 25, 2020                      COOLEY LLP
              7
              8                                                     /s/ Joseph D. Mornin
                                                                    Joseph D. Mornin (307766)
              9
                                                                    Attorneys for Plaintiffs
            10                                                      WHATSAPP INC. and FACEBOOK, INC.
            11

            12
            13
            14

            15
            16

            17

            18
            19

            20
            21

            22

            23
            24

            25
            26

            27

            28
                     234660979
  COOLEY LLP
ATTO RNEY S AT LAW
                                                                                       NOTICE OF WITHDRAWAL OF COUNSEL
 SAN FRA NCI S CO
                                                                      2.                            OF JOSEPH D. MORNIN
                                                                                              CASE NO. 4:19-CV-07123-PJH
